854 F.2d 1316Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Walter Ray ACREE, Petitioner-Appellant,v.Thomas R. ISRAEL, Attorney General of Virginia, Respondents-Appellees.
    No. 88-6558.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 18, 1988.Decided Aug. 12, 1988.
    
      Walter Ray Acree, appellant pro se.
      Robert Homer Anderson, III Office of Attorney General of Virginia, for appellees.
      Before CHAPMAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Walter Ray Acree seeks to appeal the magistrate's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate.  Acree v. Israel, C/A No. 87-734-R (E.D.Va. Feb. 11, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    